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December 5, 2022

The Hon. Valerie Caproni
United States District Court
Southern District of New York
40 Foley Square, Room 240
New York, New York 10007

Nike, Inc. v. StockX LLC, No. 22 CV 00983 (S.D.N.Y.) –
Joint Letter on Pending Discovery Disputes

Dear Judge Caproni:

         Pursuant to the Court’s December 5, 2022, oral Order, Plaintiff Nike, Inc. (“Nike”) and
Defendant StockX LLC (“StockX” and together with Nike, the “Parties”) respectfully submit this
joint letter to provide an overview of the pending discovery disputes ripe for raising with the Court
pursuant to Individual Rule 3(B). The Parties are mutually available for a telephonic conference
next week on Monday, December 12, 2022, between 10:00 AM – 12:00 PM EST, or after 3:00 PM
EST and for an in-person conference on Tuesday, December 13, 2022, between 10:00 AM – 4:00
PM EST.

       The Parties’ disputes concern the following topics:

               Nike’s objections and responses to twenty-seven RFPs (RFP Nos. 54-56, 84, 85, 87,
                88, 90, 93-95, 98-100, and 103-115), and to twenty-five 30(b)(6) topics (Topic Nos.
                2-6, 15-18, 20-21, 24-29, 31, 33, 35-38), concerning subject matter such as Nike’s
                digital sneakers offerings and the channels of trade through which and prices at
                which Nike’s digital sneakers are sold; the technical specifications for the shoes the
                Alleged Counterfeits purport to be; the pervasiveness of counterfeits in the market;
                Nike’s revenues and profits from the sale of non-fungible tokens and digital
                sneakers; Nike’s interest in investing in and/or acquiring StockX; and Nike’s
                reputation.

               The completeness of Nike’s document production in response to ten RFPs (RFP Nos.
                6, 38, 40, 52, 64-66, 74-75), concerning subject matter such as Nike’s digital goods
                offerings, consumer complaints regarding NFTs and digital sneakers sold by Nike,
                Nike’s anticounterfeiting efforts with respect to third-party websites, and Nike’s
                investigation of the Alleged Counterfeits at issue in this case.

               Nike’s redactions for responsiveness of two documents (Bates numbers
                NIKE0040131 and NIKE0039801).

               StockX’s objections and responses to Plaintiff Nike, Inc.’s Second Set of Requests
                for Admission to Defendant StockX LLC.

       The Parties thank the Court for its continued attention to this matter.
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Respectfully submitted,

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